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B 2100A (Form 2100A) (12/15)


                         UNITED STATES BANKRUPTCY COURT
                                           For The Northern District of Illinois

In re:                                                                 Case No. 21-05854
CORTEZ L. BRAZLEY

                            TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

U.S. Bank National Association not in its
individual capacity but solely as Legal Title
Trustee for RMTP Trust, Series 2021 BKM-
TT-V                                                                                 Mid America Mortgage, Inc.
              Name of Transferee                                                                 Name of Transferor

Name and Address where notices to transferee                                 Court Claim # (if known): 11
should be sent:                                                              Amount of Claim: $330,646.83
Rushmore Loan Management Services                                            Date of Claim Filed: 07/12/2021
P.O. Box 55004
Irvine, CA 92619-2708

Phone:                                                                       Phone:
Last Four Digits of Acct #: 5881                                             Last Four Digits of Acct #: 0101

Name and Address where transferee payments
should be sent (if different than above):
Rushmore Loan Management Services
P.O. Box 52708
Irvine, CA 92619-2708

Phone:
Last Four Digits of Acct #:


I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/ Michelle Ghidotti as "Authorized Representative of Creditor"                               Date: June 30, 2022
           Transferee/Transferee's Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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